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FOR THE WESTERN DISTRICT OF TENNESSEE 5 JUN 30 PH 3‘ 57

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VICKIE MILLER,
Plaintiff,

v. NO. 05-2413B/An

NIPPON CARBON COMPANY, LTD.,
MITSUBISHI LOGISTICS CORPORAT]ON,
MITSUBISHI LOGISTICS AMERICA
CORPORATION AND YANG MING
MARINE TRANSPORT CORPORATION,

Defendant.

 

ORDER GRANTING MOTION F()R ADMISSION OF
KENNETH I. SCHACTER PRO HAC VICE

 

Upon consideration of the Motion for Admission of Kenneth l. Schacter Pro Hac I/ice, it

ORDERED that the motion is hereby granted and that Kenneth I. Schacter is hereby

admitted pro hac vice to practice and participate in this particular case.

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Honorable J. Breen
US DISTRICT COURT

